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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA : SEALED SUPERSEDING
: INDICTMENT

— VV. ee

S4 19 Cr. 833 (SHS)
JENNIFER SHAH, and
STUART SMITH,

Defendants. :
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COUNT ONE

(Conspiracy to Commit Wire Fraud)
The Grand Jury charges:
OVERVIEW OF THE SCHEME

1. From at least in or about 2012 until at least in or
about March 2021, in the Southern District of New York and
elsewhere, JENNIFER SHAH and STUART SMITH, the defendants,
together with others known and unknown (collectively, the
“Participants”) carried out a wide-ranging telemarketing scheme
that defrauded hundreds of victims (the “Victims”) throughout
the United States, many of whom were over age 55, by selling
those Victims so-called “business services” in connection with
the Victims’ purported online businesses (the “Business
Opportunity Scheme”).

2. In order to perpetrate the Business Opportunity
Scheme, Participants, including JENNIFER SHAH and STUART SMITH,

the defendants, engaged in a widespread, coordinated effort to

 
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traffic in lists of potential victims, or “leads,” many of whom
had previously made an initial investment to create an online
business with other Participants in the Scheme. Leads were
initially generated by sales floors operating in, among other
places, Arizona, Nevada and Utah. The owners and operators of
those sales floors operated in coordination with several
telemarketing sales floors in the New York and New Jersey area,
including in Manhattan, and provided lead lists and assistance
in fighting Victim refund requests to other Participants
operating those floors.

3. JENNIFER SHAH and STUART SMITH, the defendants, among
other things, generated and sold leads to other Participants for
use by their telemarketing sales floors with the knowledge that
the individuals they had identified as “leads” would beé
defrauded by the other Participants. SHAH and SMITH yielded a
share of the fraudulent revenue per the terms of their agreement
with those Participants. SHAH and SMITH often controlled each
aspect of the frauds perpetrated by other Participants on the
individuals they had identified by, among other things,
determining which “coaching” sales floor could buy leads from
them, selecting the downstream sales floors that the “coaching”
sales floor was permitted to pass the leads along to, choosing
the firm(s) to provide “fulfillment” services, that is,

documents and records purporting to demonstrate that the

 
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services the Participants claimed to provide to those Victims
were actual and legitimate, setting how much the downstream
sales floors could charge, and determining which “products” each
of the downstream sales floors could sell.

4. To perpetrate the Business Opportunity Scheme, certain
of the Participants sold alleged services purporting to make the
management of Victims’ businesses more efficient or profitable,
including tax preparation or website design services,
notwithstanding that many Victims were elderly and did not own a
computer. At the outset of the Business Opportunity Scheme,
certain Participants employed by a purported fulfillment company
sent a given Victim electronic or paper pamphlets or provided
so-called “coaching sessions” regarding these purported online
businesses, but at no point did the defendants intend that the
‘Victims would actually earn any of the promised return on their
intended investment, nor did the Victims actually earn any such
returns.

5. JENNIFER SHAH and STUART SMITH, the defendants,
undertook significant efforts to conceal their roles in the
Business Opportunity Scheme. For example, SHAH and SMITH, among
other things, incorporated their business entities using third
parties’ names and instructed other Participants to do the same,
used and directed others to use encrypted messaging applications

to communicate with other Participants, instructed other

 
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Participants to send SHAH’s and SMITH’s share of certain fraud
proceeds to offshore bank accounts, and made numerous cash
withdrawals structured to avoid currency transaction reporting

requirements.

STATUTORY ALLEGATIONS

 

6. From at least in or about 2012 up to and including at
least in or about March 2021, in the Southern District of New
York and elsewhere, JENNIFER SHAH and STUART SMITH, the
defendants, and others known and unknown, willfully and
knowingly, did combine, conspire, confederate, and agree
together and with each other to commit wire fraud in connection
with the conduct of telemarketing, as that term is defined in
Title 18, United States Code, Section 2325, which did victimize
ten and more persons over the age of 55, in violation of
Title 18, United States Code, Sections 1343 and 2326.

7. It was a part and an object of the conspiracy that
JENNIFER SHAH and STUART SMITH, the defendants, and others known
and unknown, willfully and knowingly, having devised and
intending to devise a scheme and artifice to defraud, and for
obtaining money and property by means of false and fraudulent
pretenses, representations, and promises, would and did transmit
and cause to be transmitted by means of wire communication in
interstate and foreign commerce, writings, signs, signals,

pictures, and sounds for the purpose of executing such scheme

 
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and artifice, in violation of Title 18, United States Code,
Sections 1343 and 2326, to wit, SHAH, SMITH, and others induced
and caused victims, many of whom were over the age of 55, to pay
thousands of dollars to obtain so-called “coaching” and
“business services,” which they represented would make the
management of the victims’ purported online businesses more
efficient and/or profitable, when, in actuality, the “services”
would provide little or no value to the victims’ businesses,
which were essentially non-existent.

(Title 18, United States Code, Sections 1349, 2326(1),
& 2326(2) (A).)

COUNT TWO
(Conspiracy to Commit Money Laundering)

The Grand Jury further charges:

8. The allegations contained in paragraphs 1 through 93
above are hereby repeated, realleged, and incorporated by
reference as if fully set forth herein.

9, From at least in or about 2012 up to and including at
least in or about November 2019, in the Southern District of New
York and elsewhere, JENNIFER SHAH and STUART SMITH, the
defendants, and others known and unknown, knowingly did combine,
conspire, confederate, and agree together and with each other to
violate Title 18, United States Code, Sections 1956(a) (1) (B) (i)

and (a) (1) (B) (ii), and 1957(a).

 
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10. It was a part and an object of the conspiracy that
JENNIFER SHAH and STUART SMITH, the defendants, and others known
and unknown, knowing that the property involved in certain
financial transactions, to wit, cash transactions and wire
transfers, represented the proceeds of some form of unlawful
“activity, would and did conduct and attempt to conduct such
financial transactions, which in fact involved the proceeds of
specified unlawful activity, to wit, wire fraud, knowing that
the transactions were designed in whole and in part to conceal
and disguise the nature, location, source, ownership and control
of the proceeds of specified unlawful activity, in violation of
Title 18, United States Code, Section 1956(a) (1) (B) (4).

11. It was further a part and an object of the conspiracy
that JENNIFER SHAH and STUART SMITH, the defendants, and others
known and unknown, knowing that the property involved in certain
financial transactions, to wit, cash transactions and wire
transfers, represented the proceeds of some form of unlawful
activity, would and did conduct and attempt to conduct such
financial transactions, which in fact involved the proceeds of
specified unlawful activity, to wit, wire fraud, knowing that
the transactions were designed in whole and in part to avoid a
transaction reporting requirement under state or federal law, in
violation of Title 18, United States Code, Section

1956 (a) (1) (B) (12).

 
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12. It was further a part and an object of the conspiracy
that JENNIFER SHAH and STUART SMITH, the defendants, and others
known and unknown, within the United States, knowingly would and
did engage and attempt to engage in monetary transactions in
criminally derived property of a value greater than $10,000 that
was derived from specified unlawful activity, to wit, wire
fraud, in violation of Title 18, United States Code, Section
1957 (a).

(Title 18, United States Code, Section 1956(h).)
FORFEITURE ALLEGATIONS»

13. As a result of committing the offense alleged in Count
One of this Superseding Indictment, JENNIFER SHAH and STUART
SMITH, the defendants, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982(a) (8), any
and all real or personal property used or intended to be used to
commit, to facilitate, or to promote the commission of said
offense; and any and all real or personal property constituting,
derived from, or traceable to the gross proceeds that the
defendant obtained directly or indirectly as a result of said
offense including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to

 
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the commission of said offense and the following specific
property:
a. The real property described as 3241 North 700th
West, Lehi, Utah 84043.
14. As a result of committing the offense alleged in Count
Two of this Superseding Indictment, JENNIFER SHAH and STUART
SMITH, the defendants, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982(a) (1), any
and all property, real and personal, involved in said offense,
or any property traceable to such property, including but not
limited to a sum of money in United States currency representing
the amount of property involved in said offense and the specific
property set forth above in paragraph 13 (a).
Substitute Asset Provision |
15. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

Cc. has been placed beyond the jurisdiction of the
Court;
d. has been substantially diminished in value; or

e. has been commingled with other property which

 
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cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property
of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 982;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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FOREFEY (SO AUDREY S TRAUSS
United ses Attorney

       

 
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UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA
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JENNIFER SHAH, and
STUART SMITH,

Defendants.

 

 

SEALED SUPERSEDING INDICTMENT
S4 19 Cr. 833 (SHS)

(18 U.S.C. §§ 1349, 1956(h), and 2326.)

AUDREY STRAUSS
United States Attorney

by, ME Foe
> Foreperson

       

 

 

 
